Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 1 of 44

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
PANAMA CITY DIVISION

CASE NO. 5:19-CV-00257-RH-MJF

MGFB PROPERTIES, INC., FLORA-
BAMA MANAGEMENT, LLC, and
FLORA-BAMA OLD S.A.L.T\S., INC.,

Plaintiffs,

VS.

VIACOMCBS INC., 495

PRODUCTIONS HOLDINGS LLC, and
495 PRODUCTIONS SERVICES LLC,

Defendants.

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
FOR SUMMARY JUDGMENT

UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 2 of 44

 

TABLE OF CONTENTS

INTRODUCTION ...cccccscsscsssseseeccseesesecsssessecessessensessessesssssessssessssnsssasseesesneseeses 1
STATEMENT OF FACTS .....cccecccscsscescesessesseesersrsssesseeeescnsceescasseessesessesessesenseess 1
A. Plaintiffs’ Business Operations ..........ccsscessseesseseseeeneeseeeeenee 1

B. Defendants’ Businesses... ceseeeesserseesssessecssesseerseeseenns 3

C. Origins Of This Lawsuit... eeessesseestescesesersensssrsesneaes 4

D. — Procedural History........cescesssetecseeesseeeecssecseeeseerneenseeseesneess 4

LEGAL STANDARD .Q.....ccessscesensessscteeneceeteeseesneesessecsaeesessessesssssseessessesneseuenessuen 5
ARGUMENT ......cccscscccsccsscsssessssececessseaeeaeesesseesesseesaessesnesseseessseseeseseseeeessereseeenesnees 5
I, The First Amendment Bars All Of Plaintiffs’ Claims... 6

A. The Rogers Test Precludes Plaintiffs’ Trademark
Infringement And Unfair Competition Claims. .............00. 6

B. The First Amendment Is Also Fatal To Plaintiffs’

Dilution Claim, oo... cee eceesessscsceesseesseesseesssesseseseseneessesnenens 16

C. Plaintiffs’ Unjust Enrichment Claim Also Fails. ............. 17

Il. Plaintiffs Cannot Prove The Elements Of Their Claims. ............. 18

A. — There Is No Likelihood Of Confusion. 0.0... cs ceesseeseeseenees 18

B. Plaintiffs’ Mark Is Not Famous In Florida... eee 31

C. Defendants Were Not Unjustly Enriched... eee 33

Ill, 495 Productions Is Not Directly Liable... eeeseeeeees seceeeeeee 33
CONCLUSION uu... eceseescccseceseesseessececeeseseaecenesseesseerseeaeesnseseteseeseeeseenessnersaeeneees 34

ii
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 3 of 44

 

TABLE OF AUTHORITIES
Page(s)

Cases
Advance Magazine Publishers, Inc. v. Chic USA, Inc.,

2021 WL 664138 (M.D. Fla. Feb. 2, 2021)... ce eecsssseesssstsrrscsssssssesesseresssssaees 16
Apollo Theater Found., Inc. v. W. Int’! Syndication,

2005 WL 1041141 (S.D.N.Y. May 5, 2005) cee eeeeesseeesesseessessessssteveeseseneseaes 14
Armstrong Cork Co. v. World Carpets, Inc.,

597 F.2d 496 (Sth Cir. 1979) ...cccccccsscssssseesesesessessscssessessescsessesssevsessscesssesseerarens 30
Betty’s Found. for Elimination of Alzheimer’s Disease v. Trinity

Christian Center of Santa Ana, Inc.,

No. 20-cv-2146, Dkt. 29 (C.D. Cal. Apr. 7, 2021) ce ciceccesecessestessssssersenessesenes 8
Bolger v. Youngs Drug Products Corp.,

463 U.S. 60 (1983)... ccsccsccssessssccsscssceseecsaeeseesessresseseeessessecsseeseeeesssessesnesesesassasseees 17
Brady v. Grendene USA, Inc.,

2014 WL 5783771 (S.D. Cal. Nov. 6, 2014)... ceeeeesecssessecssessecsrsesssereeseeeaes 19
Brice Building Co. v. Lee,

2010 WL 11640032 (N.D. Fla. Apr. 13, 2010)... eceeeeseerecseereessessereeeneenes 17
Caliber Automotive Liquidators, Inc. v. Premier Chrysler, Jeep,

Dodge, LLC,

605 F.3d 931 (11th Cir. 2010) cccescsccssescssecseccsecteesessesersesaeeseessseseenseeeseenaees 13
Checkpoint Sys., Inc. v. Check Point Software Techs., Inc.,

269 F.3d 270 (3d Cir. 2001) eee eeesesseeseesscnseseeneeseessessasssessesssesssseevseeneseessaes 24
Claybrooks v. Am. Broad. Cos.,

898 F. Supp. 2d 986 (M.D. Tenn. 2012) oe eeeeeesecesneceeecseeseaeceesseesseseesseeses 7
Conagra, Inc. v. Singleton,

743 F.2d 1508 (11th Cir, 1984) occ ceesseesecseessecteeeeseeessesaeseesssssaeeaeeeeesenees 13
Custom Mfg. & Eng’g, Inc. v. Midway Servs., Inc.,

508 F.3d 641 (11th Cir, 2007) occ eesseeseesccsseeeesseeseseeeseeeesees seeeseeeenneneenenee 20, 23

ili
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 4 of 44

Decorative Ctr. of Hous., L.P. v. Direct Response Publ’ns, Inc.,
264 F. Supp. 2d 535 (S.D. Tex. 2003)... csccssessssressesteeseesscneereessnessesssersseeeesnees 29

Dickinson v. Ryan Seacrest Enterprises Inc.,
839 F, App’x 110 (9th Cit, 2020)... cescssccssssssesesseestsesessreesensenesneseessesssesseennes 7

Dr. Seuss Enterprises, L.P. v. ComicMix LLC,
983 F.3d 443 (9th Cit. 2020) oie cesesesssessesteccssscssssersssssssesesssssseeseesseresseesenes 12

E.S.S. Entm’t 2000, Inc. v. Rock Star Videos, Inc.,
547 F.3d 1095 (9th Cir, 2008) oc. ccscsssecsscscessessersesseessecsessecseesessssseesesssnesssesenes 9

Ellis v. England,
432 F.3d 1321 (11th Cir. 2005) woe essesesseseerecsecnesneesnssseressevsessesscsssseseeveseaes 5

Fla. Int’l Univ. Bd. of Trustees v. Fla. Nat’l Univ.,
830 F.3d 1242 (11th Cir. 2016) cee ecscseesersecsesseressersscssssessessesssssssessesASSIM

Freedom Sav. & Loan Ass’n v. Way,
757 F.2d 1176 (11th Cir, 1985) vc ccceceseseeresenseererseseetesesssessessssessessssessnsessees 29

Hard Candy, LLC y. Anastasia Beverly Hills, Inc.,
921 F.3d 1343 (11th Cir. 2019) cee eesescssesecsserseessessressssssessessseseesseseneesaes 28

Hard Rock Cafe Int’l USA, Inc. v. RockStar Hotels, Inc.,
2018 WL 7825183 (S.D. Fla. June 13, 2018)... eeeceneeseseeeseeeeseeeneerseeeneres 26

HBP, Inc. v. Am. Marine Holdings, Inc.,
290 F. Supp. 2d 1320 (M.D. Fla. 2003)... eecceessteeeseessscesceertssssesressnrereses 21

Hodgdon Powder Co. v. Alliant Techsystems, Inc.,
512 F. Supp. 2d 1178 (D. Kan. 2007)... ce eessseessecenecneesseeseeneeeceeeseesnsoseeeeees 29

Holding Co. of the Vills., Inc. v. Little John’s Movers & Storage, Inc.,
2017 WL 6319549 (M.D. Fla. Dec. 11, 2017) occ eeeeeseseeseessesaetseeseeneenaeenes 31

Implant Innovations, Inc. v. Debbie LLC,
2007 WL 9701902 (S.D. Fla. May 2, 2007),
adopted 2007 WL 9701982 (S.D. Fla. June 21, 2007)... eee eeeeseeseeseeeeeeeseees 29

Inwood Labs., Inc. v. Ives Labs., Inc.,
456 U.S. 844 (1982)... ccsccssesccssscssseseectecsseerscceseeesecsaeecsaesesessaesnseeseseeseneeeneeeneees 34

iv
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 5 of 44

Jackson v. Netflix, Inc.,
--- F, Supp. 3d ----, 2020 WL 8028615 (C.D. Cal. Dec. 9, 2020)... cece 7,17

Kroma Makeup EU, LLC v. Boldface Licensing + Branding, Inc.,
920 F.3d 704 (11th Cir, 2019) occeceeeesessessessssesssesnsssesesesesessessseseneeseesasesaeens 5

Legacy Entm’t Grp., LLC v. Endemol USA Inc.,
2015 WL 12838795 (M.D. Fla. Oct. 1, 2015) ce ecssesrerseesseseseessseseeenes 13, 14

Luigino’s, Inc. v. Stouffer Corp.,
170 F.3d 827 (8th Cir, 1999) oe essesesscscssesssceeecsesssessesressessesessesssssseneeerees 23

Marco’s Franchising, LLC v. Marco’s Italian Exp., Inc.,
2007 WL 2028845 (M.D. Fla. July 9, 2007) oo... ce eecccssceseeetsssecseersersstseessseesees 13

Mattel, Inc. v. MCA Records, Inc.,
296 F.3d 894 (9th Cir. 2002) vce. ceseescseesseesseceneeseessssensesssseseessuseseneesaeees 7, 8,17

Michael Caruso & Co. v. Estefan Enters., Inc.,
994 F. Supp. 1454 (S.D. Fla.),
Off’'d 166 F.3d 353 (11th Cir. 1998)... icccsscssssssersscrsesesstsessenseessessesseseeseenees 32

Mini Maid Services Co. v. Maid Brigade Systems, Inc.,
967 F.2d 1516 (11th Cit, 1992) oe eeessesseeseeesseeeseeseessseesssssessecceeseseesenes 34

Moore v. Weinstein Co.,
2010 WL 8913520 (M.D. Tenn. May 12, 2010) ce esceseesescnesneesseeeeeeseeeaeees 14

Moore v. Weinstein Co.,
2012 WL 1884758 (M.D. Tenn. May 23, 2012) wcecesesseesseesseeeseeesseseseesnees 15

Morgan Creek Prods. v. Capital Cities/ABC, Inc.,
1991 WL 352619 (C.D. Cal. Oct. 28, 1991) oe eeesseeseceeeeteeseeeeeeeseeeteeeateaes 14

MPS Ent., LLC v. Abercrombie & Fitch Stores, Inc.,
2013 WL 3288039 (S.D. Fla. June 28, 2013)... ceeeesecesesseeseeeeeseeeeeeesateaseaes 31

Pellegrino v. Epic Games, Inc.,
451 F. Supp. 3d 373 (E.D. Pa. 2020)... ececeesseeseneeceetseetersecssessssseseeeeessessesaees 33

Phelan Holdings, Inc. v. Rare Hosp. Memt., Inc.,
2017 WL 1135266 (M.D. Fla. Mar. 27, 2017) ...sscscssscsscsssssscsecsssssssecteceaeseseaes 18

Vv
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 6 of 44

Pilot Corp. of Am. v. Fisher-Price, Inc.,

501 F. Supp. 2d 292 (D. Conn. 2007)... .ceccssessesssssessssessensessseseesseesesseeseeneegs 23
Provide Com., Inc. v. Preferred Com., Inc.,

2008 WL 926777 (S.D. Fla. Apr. 4, 2008)... ce eeeeeceeneesserteeeseernsseneessaseeeey 31, 32
Rogers v. Grimaldi,

875 F.2d 994 (2d Cir. 1989) ve eeeeessesseessesssersscesersnessesneessssseseneees 6, 8, 13, 15
Romantics v. Activision Pub., Inc.,

574 F. Supp. 2d 758 (E.D. Mich, 2008)... cecssccsseesesestesssesecseseessssenscsssssetanens 18
Samson Distributing, Inc. v. Kreger,

2007 WL 2254498 (M.D. Fla. Aug. 3, 2007)... cescescseeessessscstscssesrseseeseeseeesens 16
Simon & Schuster v. Dove Audio,

970 F, Supp. 279 (S.D.N.Y. 1997) ve ceecseesssesseeesessssseessessssasssessnsseesnnssessssensseees 14
Smith v. Wal-Mart Stores, Inc.,

537 F. Supp. 2d 1302 (N.D. Ga. 2008)... ecsccesessersecnecnesseeecresressnsenssssesesseees 17
Sorensen v. WD-40 Co.,

792 F.3d 712 (7th Cir, 2015) vc cececcsccssssscccstessseceseesseesseeeseeseseaeesaeceaeesssesseeseerss 23
Superior Consulting Servs., Inc. v. Shaklee Corp.,

2019 WL 913374 (M.D. Fla. Feb. 25, 2019)... eeeesesseeseesneesneesneesseesseneesees 31
Tana vy. Dantanna’s,

611 F.3d 767 (11th Cir, 2010) cece cecsscscsssseseecsnessseseeeseeeaeceaeesaeesneeneereneeaeeees 27
Therma-Scan, Inc. v. Thermoscan, Inc.,

295 F.3d 623 (6th Cir. 2002) .....scsscccssccssscssesssseessnsessnsceseecsneeeseeesseeesteeesaeseaeeesas 24
Tri-Star Pictures, Inc. v. Leisure Time Prods., B.V.,

749 F. Supp. 1243 (S.D.N.Y. 1990) cee ceccesesscesseceseeeneeesecseesseesseesssesaeesaeenseees 14
Twentieth Century Fox Television v. Empire Distribution, Inc.,

875 F.3d 1192 (Oth Cir, 2017) wc ceesccccsssscsssesssseccsscstesssecssesssseseseesseeceas 7, 8, 13

Uber Promotions, Inc. vy. Uber Techs., Inc.,
162 F. Supp. 3d 1253 (N.D. Fla. 2016) oe cesssseeeeeseeeneceneeeneesneseeeteeeeneeeas 30

vi
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 7 of 44

Univ. of Ala. Bd. of Trustees v. New Life Art, Inc.,
683 F.3d 1266 (11th Cir, 2012) cee cesessecssesssesessesssescnsersssstesseenes 6,9, 11, 12

VIP Products LLC y. Jack Daniel’s Properties, Inc.,
953 F.3d 1170 (Oth Cir. 2020) oe essssccsesevsessecvessssssesessscssesessseseesessesnesaeeees 8

W.W.W. Pharm. Co. v. Gillette Co.,
984 F.2d 567 (2d Cir. 1993) oesecsesvsesssssecsscsssecssssssssrsssssssssssssesssssssseeserentens 24

Water Pik, Inc. v. Med-Systems, Inc.,
726 F.3d 1136 (1Oth Cir. 2013) cece eeseesseseesecsesseesesssssessssssessesrssrssseseessensess 23

Wreal LLC v. Amazon.com, Inc.,
2015 WL 12550932 (S.D. Fla. Feb. 3, 2015),
adopted 2015 WL 12550912 (S.D. Fla. Aug. 31, 2015),

aff'd 840 F.3d 1244 (11th Cir, 2016)... ccccscssccssesessescnscsssesecsesseseneenssessessenees 30
Wreal, LLC v. Amazon.com, Inc.,

2019 WL 3890320 (S.D. Fla. July 26, 2019) wo. eeeesseseseeersensererees 18, 19, 23
Yellowfin Yachts, Inc. v. Barker Boatworks, LLC,

898 F.3d 1279 (11th Cir. 2018) cicccssseseseesessseeseescssersssesessessssssseseenes 20, 27
Statutes
15 ULS.C. § LI2Z5S(C)B)(C) vcrcrecseecnesreresseeessceeecsssseesssesnsenesssssessrssnssterssseesseeeesy 16
Fla. Stat. § 495.1511). cccsseccsscesesesecserscsessscssevscsssssscsesscsessssesessesessssensereeenscees 31
Fla. Stat. § 495.151(3)(D) ccc cecscscsceseeeserecsecnsessecsscssssscssesssssevssssssssssesvessessseserenes 16
Other Authorities
2 McCarthy on Trademarks & Unfair Competition (Sth ed. 2021).......20, 21, 23, 28
Fed. R. Civ. P. 56(a)....ccsccesscssssssssecececsssecsnesesseeessnesesaeessnscesessseeeesaesaesenseesanesaaesaueeas 5

vil
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 8 of 44

INTRODUCTION

Plaintiffs MGFB Properties, Inc., Flora-Bama Management, LLC, and Flora-
Bama Old S.A.L.T.S., Inc. (collectively, “Plaintiffs”) operate the Flora-Bama
Lounge, Package, and Oyster Bar (the “Flora-Bama Lounge”) and other related
establishments (collectively, the “Flora-Bama Establishments”). Defendants 495
Productions Holdings LLC and 495 Productions Services LLC (together, “495
Productions”) and ViacomCBS Inc. (“ViacomCBS,” or, together with 495
Productions, “Defendants”) collectively develop, produce, and distribute MTV
Floribama Shore (the “Series”), a reality television series. Plaintiffs sued alleging
trademark infringement and related claims. However, the First Amendment
precludes all of Plaintiffs’ claims as a matter of law. Further, Plaintiffs cannot prove
the elements of those claims. Thus, Defendants are entitled to summary judgment.

STATEMENT OF FACTS

A. Plaintiffs’ Business Operations

The Flora-Bama Lounge was founded in 1964 as a “small bar and package
store” adjacent to the beach in Perdido Key, Florida. Decl. of Susan Kohlmann
(“Decl.”’), Ex. 1. From its founding, the Flora-Bama Lounge has straddled the
Florida-Alabama state line. Jd.

Today, the Flora-Bama Lounge is a bar, restaurant, and live event venue that

hosts concerts and other events such as a fish-tossing competition and chili cook-

UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 9 of 44

off. Zd. Plaintiffs market the Flora-Bama Lounge by promoting its physical location
in both Florida and Alabama. Decl., Exs. 2, 3.

In 2013, Plaintiffs obtained a federal trademark registration in “FLORA-
BAMA” (the “Mark’). Dkt. 1-5, Ex. A. That registration covers, among other
things, bar and restaurant services, transportation services, and “entertainment”
services such as “live musical performances,” “competitions for fish throwing,” and
“cooking contests.” Jd. In 2019, Plaintiffs obtained a Florida state trademark
registration covering similar services. Dkt. 1-5, Ex. D.

Plaintiffs have sought to enforce the Mark aggressively. They have sent
cease-and-desist letters to at least 60 businesses across the region, sometimes at a
rate of more than 30 letters per year. Decl., Ex. 4 at 27:1-10, Ex. 5. Many of the
recipients operate businesses nothing like the Flora-Bama Establishments. For
example, Plaintiffs sent letters to a geographic surveying company, an estate sales
firm, and a dog rescue charity. Decl., Ex. 5 at MGFB00043798, SC-00401,
MGFB00043881. This strategy is driven by Plaintiffs’ co-owner, John McInnis,
who testified that he believes even a nonprofit that provides completely different
services from the Flora-Bama Lounge needs Plaintiffs’ permission to use the word

“Flora-Bama” because Plaintiffs “own the name, period.” Decl., Ex. 6 at 69:11-17.

2
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 10 of 44

B. Defendants’ Businesses

Defendants’ principal businesses are to develop, produce, and distribute
television and film entertainment. ViacomCBS is a global media and entertainment
company that operates numerous television brands, including MTV, VHI,
Nickelodeon, and Comedy Central. 495 Productions is a television production
studio that has produced series for ViacomCBS and others.

One such series was Jersey Shore, a hit that profiled a group of fun-loving 20-
somethings who lived together in a beach house in Seaside Heights, New Jersey.
Decl., Ex. 7 at 132:3-24, 160:3-7; Ex. 8 at 27:5-14. Jersey Shore created a valuable
franchise for MTV, spawning multiple iterations in locations around the world. Jd.
Critical to the success of Jersey Shore was the specific “subculture” of its cast
members. Id.

In 2016, ViacomCBS began to develop a seventh Shore series, focused on
Southern beach culture, in particular the “young Southern folks” who go to “shore
houses” or “spend summers” on the Gulf Coast shoreline extending from the Florida
Panhandle into Alabama. Decl., Ex. 9 at 63:14-64:1. ViacomCBS did market
research on the region and, in conjunction with 495 Productions, cast the series and
eventually filmed the first season in Panama City Beach, Florida. Decl., Ex. 7 at
95:17-20; Ex. 10 at 100:1-11; Ex. 11 at 143:24-144:10. ViacomCBS executives

made the creative decision to name the series MTV Floribama Shore, using the word

3
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 11 of 44

“Floribama” to describe the subculture that defined the series and the geographic
region exemplified by that subculture. Decl., Ex. 8 at 42:18-43:23; Ex. 9 at 55:21-
56:19,

C. Origins Of This Lawsuit

Less than a month before the scheduled premiere on November 27, 2017,
Plaintiffs sent ViacomCBS a cease-and-desist letter, alleging that the title of the
Series infringed Plaintiffs’ rights in the Mark. Decl., Ex. 12. ViacomCBS promptly
responded and explained its defenses. Decl., Ex. 13. The Series premiered as
scheduled.

D. Procedural History

Nearly two years later—after a second season of the Series was broadcast and
a third was scheduled to air—Plaintiffs filed this lawsuit. Dkt. 1 (“Compl.”).
Defendants moved to dismiss, arguing that the First Amendment bars Plaintiffs’
claims. Dkt. 28 (“MTD”). While the Court denied Defendants’ motion, it cautioned
that its analysis may be different “when the actual facts are known.” Dkt. 33 (“MTD
Order”) at 3. Now, the parties have completed extensive discovery, including
producing tens of thousands of documents, completing 21 fact depositions, and

serving nine expert reports from seven different experts, all of whom have been

4
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 12 of 44

deposed.! That robust record reveals that Defendants are entitled to summary
judgment.
LEGAL STANDARD

Summary judgment is warranted when “there is no genuine dispute as to any
material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.
P, 56(a). Courts “view the evidence in the light most favorable to the non-moving
party and resolve all reasonable doubts about the facts in favor of the non-movant.”
Kroma Makeup EU, LLC vy. Boldface Licensing + Branding, Inc., 920 F.3d 704, 707
(11th Cir. 2019). However, a party’s “mere conclusions and unsupported factual
allegations are legally insufficient to defeat a summary judgment motion.” Ellis v.
England, 432 F.3d 1321, 1326 (11th Cir. 2005).

ARGUMENT

Defendants are entitled to summary judgment on all eight of Plaintiffs’ claims.

Six allege trademark infringement or unfair competition under the Lanham Act or

Florida law.” The parties agree “that because Florida trademark infringement and

 

' For the Court’s convenience, Defendants are providing electronic versions of all
expert reports cited herein, including exhibits, via flash drive, in addition to filing
them on the docket.

* Counts I and II allege trademark infringement and unfair competition under the
Lanham Act. See Compl. {ff 87-94, 95-101. Counts III and IV allege statutory
trademark infringement and unfair trade practices under Florida law. See id. JJ 102-
08, 109-12. Counts VI and VII allege common law trademark infringement and
unfair competition under Florida law. See id. {J 123-29, 130-34.

5
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 13 of 44

unfair competition law is the same as federal law, a court can use federal law analysis
to evaluate the merits of the Florida claim[s].” Dkt. 31 (“MTD Opp.”) at 33 (citing
Custom Mfg. & Eng’g, Inc. v. Midway Servs., Inc., 508 F.3d 641, 652 (11th Cir,
2007)). Plaintiffs’ two remaining claims allege trademark dilution and unjust
enrichment under Florida law. See Compl. §{ 113-22 (Count V), 135-39 (Count
Vil).

The First Amendment entitles Defendants to summary judgment. Further,
even without the First Amendment, Plaintiffs cannot prove the elements of their
claims.

I. THE FIRST AMENDMENT BARS ALL OF PLAINTIFFS’ CLAIMS.

A. The Rogers Test Precludes Plaintiffs’ Trademark Infringement And
Unfair Competition Claims.

In Rogers v. Grimaldi, the Second Circuit recognized that the creators of
“works of artistic expression” have First Amendment rights that would be threatened
by applying the Lanham Act broadly. 875 F.2d 994, 997-98 (2d Cir. 1989). To
balance a plaintiff's Lanham Act rights against the First Amendment rights of the
creator of an expressive work, Rogers held that the Lanham Act does not apply to
the title of an expressive work except in limited circumstances. See id. at 999. The
Eleventh Circuit has had “no hesitation” in adopting Rogers’ balancing test. Univ.

of Ala. Bd. of Trustees v. New Life Art, Inc., 683 F.3d 1266, 1278 (11th Cir. 2012).

6
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 14 of 44

That test is fatal to Plaintiffs’ trademark infringement and unfair competition
claims. See Mattel, Inc. vy. MCA Records, Inc., 296 F.3d 894, 902, 908 (9th Cir.
2002) (applying Rogers to trademark infringement claim); Twentieth Century Fox
Television v. Empire Distribution, Inc., 875 F.3d 1192, 1195 (9th Cir. 2017)
(applying Rogers to unfair competition claim).

1. Defendants Collectively Use “Floribama” Only In Connection With
MTV Floribama Shore.

Defendants collectively use “Floribama” in three ways: (1) in the title and
content of the Series; (2) in a theme song introduced in the second season of the
Series; and (3) in various marketing, promotional, and advertising materials to
promote the Series.

It is beyond dispute that each category is expressive.? MTV Floribama Shore
is a television series and therefore “clearly an expressive work.” Empire
Distribution, 875 F.3d at 1196 (applying Rogers to Empire television series). The
same is true of a reality series. See Dickinson v. Ryan Seacrest Enterprises Inc., 839
F, App’x 110 (9th Cir. 2020) (applying Rogers to Shahs of Sunset); Jackson v.
Netflix, Inc., --- F. Supp. 3d ----, 2020 WL 8028615, at *3 (C.D. Cal. Dec. 9, 2020)

(applying Rogers to Tiger King); cf. Claybrooks v. Am. Broad. Cos., 898 F. Supp.

 

3 In their motion to dismiss, Defendants explained the basis for concluding that each
of these categories is protected by the First Amendment. See MTD at 10-13.
Plaintiffs did not dispute any of those assertions.

7
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 15 of 44

2d 986, 999-1000 (M.D. Tenn. 2012) (holding The Bachelor is entitled to First
Amendment protection).

The Series theme song is also clearly expressive. Rogers recognized “songs”
as “indisputably” expressive. 875 F.2d at 997; see also Mattel, 296 F.3d at 902
(applying Rogers to the song “Barbie Girl”). The same analysis applies to songs
associated with a television series. See Empire Distribution, 875 F.3d at 1196
(applying Rogers to songs associated with Empire).

Finally, the marketing, promotional, and advertising materials are expressive
because they were used to promote the Series. The protections afforded to an
expressive work are extended to promotional materials related to that work. See id.
at 1196-97 (concluding that the Rogers doctrine “could be destabilized if the titles
of expressive works were protected but could not be used to promote those works”).

2. None Of The Exceptions to Rogers Applies.

Rogers held that the First Amendment precludes application of the Lanham
Act to expressive works except in narrow circumstances. A plaintiff has the burden

of proving those circumstances. See VIP Products LLC v. Jack Daniel’s Properties,

 

* Beginning in September 2020, ViacomCBS also made a limited amount of Series
consumer products available, generating just $99 in revenue. Decl., Ex. 14. Rogers
also protects this material. See Empire Distribution, 875 F.3d at 1196-97 (applying
Rogers to “the sale or licensing of consumer goods” related to an expressive work);
Betty’s Found. for Elimination of Alzheimer’s Disease v. Trinity Christian Center of
Santa Ana, Inc., No. 20-cv-2146, Dkt. 29 at 5 (C.D. Cal. Apr. 7, 2021) (applying
Rogers to “merchandise sales” related to a television series),

8
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 16 of 44

Inc., 953 F.3d 1170, 1174 (9th Cir. 2020). The undisputed facts demonstrate that
Plaintiffs cannot meet that burden.

a. Plaintiffs Cannot Demonstrate That Either Established Rogers
Exception Applies.

The Rogers test permits Lanham Act claims against the creator of an
expressive work only when the work’s use of a mark “has no artistic relevance to
the underlying work whatsoever, or, if it has some artistic relevance, [when] the title
explicitly misleads as to the source or the content of the work.” Univ. of Ala., 683
F.3d at 1278.

To be artistically relevant, the relationship between the use of a mark and an
expressive work “merely must be above zero.” E.S.S. Entm’t 2000, Inc. v. Rock Star
Videos, Inc., 547 F.3d 1095, 1100 (9th Cir. 2008). In other words, a plaintiff can
prevail under this prong of the Rogers test only by proving that the use of the mark
has “no” artistic relevance to the work “whatsoever.” Univ. of Ala., 683 F.3d at 1278
(quoting E.S.S. Entm’t, 547 F.3d at 1099).

Plaintiffs cannot meet their burden to prove that “Floribama” has no artistic
relevance whatsoever to the Series. Plaintiffs took robust discovery on this issue,
obtaining thousands of documents reflecting how Defendants collectively created
the Series and selected its title. Plaintiffs also deposed all three key executives at

ViacomCBS responsible for naming the Series. That evidence tells a clear and

9
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 17 of 44

consistent story: “Floribama” describes the “subculture” profiled on the Series and
the geographic region exemplified by that subculture.

The Series began as part of an effort to expand MTV’s established Shore
franchise, which began with Jersey Shore. See supra, at 3-4. Part of Jersey Shore’s
success was that it profiled a specific “subculture” of people. MTV’s head of
unscripted television described that subculture as people who “are Jersey” and share
common interests like “going to the Jersey Shore,” a “dedication to their Italian
culture,” and “a love of clubbing.” Decl., Ex. 9 at 56:16-57:11. Critically, while
that subculture was represented along the New Jersey coast, it also extended beyond
that specific location. Indeed, MTV’s president testified that Jersey Shore’s
subculture was a “profile of an individual that extends beyond” the “particular
location” of the series. Decl., Ex. 8 at 61:12-62:8.

For its new series, ViacomCBS decided to feature a subculture of “young
Southern folks” who go to “shore houses” or “spend summers” on the Gulf Coast
shoreline extending from Florida into Alabama. Decl., Ex. 9 at 63:14-64:1. To name
the Series, executives at ViacomCBS chose “Floribama” because it “defines the
subculture,” namely “folks who are living on the Alabama through to the Florida
Gulf Shore southerners.” Jd. at 63:5-12; see Decl., Ex. 8 at 61:12-62:8 (“Floribama”
offers “aq very distinct sense of what part of the country and subculture that is”).

Indeed, the relationship between “Floribama” and the subculture of the Series is

10
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 18 of 44

obvious: “Flori” refers to Florida (i.e., beach culture), and “bama” refers to Alabama
(i.e., Southern culture), Other potential titles did not describe the Series’ subculture
and its connection to the Shore franchise as clearly.

Because this evidence is consistent and unrebutted, Plaintiffs cannot meet
their burden to prove that the word “Floribama” has “no” artistic relevance
“whatsoever” to the Series. Univ. of Ala., 683 F.3d at 1278.

Moreover, Plaintiffs cannot meet their burden to show that the Series title
“explicitly misleads as to the source or the content of the work.” Jd. Use of a mark
alone does not qualify as explicitly misleading. See id. at 1278-79. Rather, the
Eleventh Circuit looks to whether the defendant ever “marketed an unlicensed item
as endorsed or sponsored” by the plaintiff, or “otherwise explicitly stated” that the
expressive work was affiliated with the plaintiff. Jd. at 1279 (holding that expressive
works incorporating the plaintiff’s trademark were not explicitly misleading in the

absence of such statements). That standard expressly accounts for the risk that some

 

> A name like “Florida Shore” would have been too vague, as Florida has “multiple
subcultures.” Decl., Ex. 8 at 61:12-62:8. A name like “Gulf Shore” would not have
differentiated the “style” and “tone” of the Series from other MTV programming.
Decl., Ex. 15. In particular, ViacomCBS executives concluded that “Gulf Shore”
sounded too much like another MTV series airing at the time called Siesta Key. See
id. Siesta Key was “a very different show than what the Shore brand is.” Decl., Ex.
9 at 156:11-22. The executives thought “Floribama” “screams louder” than “Gulf
Shore” and thus invokes the subculture of the Series and the Shore franchise more
directly. Decl., Ex. 15.

11
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 19 of 44

consumers might “draw the incorrect inference” about the source of the defendant’s
work, which is “‘so outweighed by the interest in artistic expression as to preclude’
any violation of the Lanham Act.” Jd. (quoting Rogers, 875 F.2d at 1001).

There is no evidence in the record that Defendants ever marketed the Series
as being endorsed or sponsored by Plaintiffs or stated that the series was affiliated
with Plaintiffs. To the contrary, ViacomCBS chose a title for the Series that includes
its own house mark (MTV) and one of its most iconic franchises (Shore). Further,
Defendants have never drawn any explicit connection between the Series and
Plaintiffs in any marketing, advertising, or promotional materials, and the Series has
never featured, discussed, or even mentioned any of the Flora-Bama Establishments.
Applying the standard used by the Eleventh Circuit in University of Alabama, those
facts preclude finding that Defendants explicitly misled the public as to the source

or content of MTV Floribama Shore. See id. at 1278.°

 

6 To determine whether the use of a mark in an expressive work is explicitly
misleading, the Ninth Circuit has also considered “(1) the degree to which the junior
user uses the mark in the same way as the senior user and (2) the extent to which the
junior user has added his or her own expressive content to the work beyond the mark
itself.” Dr. Seuss Enterprises, L.P. v. ComicMix LLC, 983 F.3d 443, 462 (9th Cir.
2020). Even if the Court were to consider those factors, Defendants would still
prevail. Plaintiffs use the Mark predominantly in association with their restaurant,
bar, live music, and water sport establishments. See infra, at 24-25. They concede
that they have never produced a television series. See id. Moreover, it is beyond
dispute that MTV Floribama Shore includes expressive content far beyond its use of
the word “Floribama.” In Dr. Seuss, that alone was sufficient to find the expressive
work at issue was not explicitly misleading. See 983 F.3d at 463 (applying Rogers

12
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 20 of 44

b. None Of Plaintiffs’ Claims Relate To Any Allegedly
Confusingly Similar Title.

In opposing Defendants’ motion to dismiss, Plaintiffs cited dicta from a
footnote in Rogers arguably suggesting the case may not apply to claims alleging
“misleading titles that are confusingly similar to other titles.’ 875 F.2d at 999 n.5.
Plaintiffs claimed that this footnote created an exception to the Rogers test that
applies because their Mark “appears in the titles of numerous artistic works either
produced or licensed by Plaintiffs.” MTD Opp. at 11. However, the Rogers footnote
does not save Plaintiffs’ claims.

That footnote does not create a substantive limit on Rogers’s scope. The Ninth
Circuit has expressly declined to apply it because it “has the potential to duplicate

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either the likelihood-of-confusion test or the second prong of Rogers.” Empire
Distribution, 875 F.3d at 1197. Accordingly, the Ninth Circuit concluded that this

Rogers footnote was either “ill-advised or unnecessary.” Id.’

 

when both parties used mark in an “illustrated book” but defendant “added
expressive content to the work beyond the mark itself”).

7 While one Florida district court decision concluded that Eleventh Circuit case law
does not apply the Rogers test to claims “based on confusingly similar titles,” the
analysis in that case is flawed. Legacy Entm’t Grp., LLC v. Endemol USA Inc., 2015
WL 12838795, at *6 (M.D. Fla. Oct. 1, 2015). Legacy cited just three other cases,
none of which dealt with a Lanham Act claim involving any expressive work, let
alone multiple competing expressive works. See Caliber Automotive Liquidators,
Inc. v. Premier Chrysler, Jeep, Dodge, LLC, 605 F.3d 931 (11th Cir. 2010)
(competing car dealership advertisements); Conagra, Inc. v. Singleton, 743 F.2d
1508 (11th Cir. 1984) (competing business names); Marco’s Franchising, LLC v.
Marco’s Italian Exp., Inc., 2007 WL 2028845 (M.D. Fla. July 9, 2007) (competing

13
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 21 of 44

In any event, there is no “confusingly similar titles” claim in this case. This
limitation applies only when a plaintiff alleges that a defendant’s expressive work
creates confusion with regard to another expressive work owned by the plaintiff.
Indeed, in every case on this issue invoked by Plaintiffs in opposing Defendants’
motion to dismiss, Rogers did not apply because the plaintiff alleged confusion
between competing expressive works, not between an expressive work and a
plaintiff's other alleged rights under the Lanham Act.*

That very distinction was critical in one of the cases relied upon by Plaintiffs:
Moore v. Weinstein Co., 2010 WL 8913520 (M.D. Tenn. May 12, 2010) (denying

motion to dismiss). According to Plaintiffs, Moore demonstrates that Rogers

 

restaurant names). Unsurprisingly, none of these cases mention Rogers or the First
Amendment. They stand only for the proposition that in the absence of any First
Amendment interest associated with the alleged use of a mark, the traditional
likelihood-of-confusion test applies. Because Legacy offered no other reason
supporting its analysis, its conclusion lacks support and should be disregarded.
Indeed, no other court has cited Legacy for this proposition.

8 See Legacy, 2015 WL 12838795 (alleging that television series was confusingly
similar to television series); Moore v. Weinstein Co.,2010 WL 8913520 (M.D. Tenn.
May 12, 2010) (alleging that film was confusingly similar to album and
documentary); Apollo Theater Found., Inc. v. W. Int’l Syndication, 2005 WL
1041141 (S.D.N.Y. May 5, 2005) (alleging that television series was confusingly
similar to television series); Simon & Schuster v. Dove Audio, 970 F. Supp. 279
(S.D.N.Y. 1997) (alleging that book and audiobook were confusingly similar to
book); Morgan Creek Prods. v. Capital Cities/ABC, Inc., 1991 WL 352619 (C.D.
Cal. Oct. 28, 1991) (alleging television series was confusingly similar to film); Tri-
Star Pictures, Inc. v. Leisure Time Prods., B.V.,749 F. Supp. 1243 (S.D.N.Y. 1990)
(alleging film was confusingly similar to film).

14
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 22 of 44

becomes irrelevant whenever a plaintiff claims rights in expressive works that are
allegedly infringed by another expressive work. See MTD Opp. at 9-10. However,
when Moore reached summary judgment, the court distinguished between the
plaintiffs claims based on competing expressive works and those based on alleged
confusion between an expressive work and other trademark rights. See Moore, 2012
WL 1884758, at *34-35 (M.D. Tenn. May 23, 2012). The court applied Rogers to
the plaintiff's non-expressive work claims and granted summary judgment to
defendants. See id.

Here, none of Plaintiffs’ claims—and none of Plaintiffs’ purported evidence
of actual confusion—relate to alleged confusion between the Series and another
expressive work. Additionally, none of Plaintiffs’ marketing and advertising
evidence demonstrates that they ever sought to promote an expressive work.
Further, Plaintiffs’ survey expert did not test for any confusion between the Series
and another expressive work. In sum, there is no record evidence of any likelihood

of confusion between the Series and another expressive work.’ Rather, Plaintiffs’

 

° Separate and apart from the fact that there are no “confusingly similar title” claims
at issue here, Plaintiffs lack standing to pursue any such claims. Such claims can be
brought only by “the holder of the rights to that title.’ Rogers, 875 F.2d at 998.
Plaintiffs do not own any rights in the title to any expressive work incorporating
their Mark. For example, while Plaintiffs claim to have orally “licensed” their Mark
to the musician Kenny Chesney for his song “Flora-Bama” and televised concert
titled “Kenny Chesney: Live From the Flora-Bama,” there is no evidence
establishing that they acquired any rights in the song or the broadcast in exchange
for their “license.” Decl., Ex. 16 at 191:19-192:1 (claiming only that Plaintiffs

15
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 23 of 44

evidence relates to alleged confusion between the Series and the Flora-Bama
Establishments. See generally infra, at 28-30.

B. The First Amendment Is Also Fatal To Plaintiffs’ Dilution Claim.

Plaintiffs allege a trademark dilution claim pursuant to Florida Statute
§ 495.151. See Compl. ff 113-22. That statute has “essentially the same” scope of
application as the Lanham Act’s dilution provision. Advance Magazine Publishers,
Inc. vy. Chic USA, Inc., 2021 WL 664138, at *4 (M.D. Fla. Feb. 2, 2021). Critically,
both Florida’s and the Lanham Act’s dilution provisions identically exempt
“noncommercial” uses of a mark. Fla. Stat. § 495.151(3)(b); 15 U.S.C.

§ 1125(c)(3)(C).'9

 

“trusted” Mr. Chesney to use the Mark). Further, while Plaintiffs claim they “own
the rights” to a documentary titled The Last American Roadhouse: The Documentary
of the Flora-Bama, that testimony is contradicted by the contract between Plaintiffs
and the company that made the documentary, in which Plaintiffs purchased only
“footage,” “inventory,” and “usage rights” related to the film. Compare Decl., Ex.
6 at 158:3-14, with Decl., Ex. 17. In any event, regardless of standing, no record
evidence demonstrates any confusion (or even claims of confusion) between the
Series and any of these works.

10 In opposing Defendants’ motion to dismiss, Plaintiffs misleadingly quoted an
authority claiming that Florida’s dilution statute “involves a different inquiry” than
Lanham Act dilution claims. MTD Opp. at 33 (quoting Ocean Bio-Chem, Inc. v.
Turner Network TV, Inc., 741 F. Supp. 1546, 1561 (S.D. Fla. 1990)). That authority
is from 1990, when Florida’s dilution statute did not parallel the Lanham Act and
did not expressly exempt “noncommercial” uses. Authorities have since recognized
that “the Florida Legislature amended Florida Statute section 495.151, and effective
as of January 1, 2007, it now tracks the Federal Trademark Dilution Act, 15 U.S.C.
§ 1125.” Samson Distributing, Inc. v. Kreger, 2007 WL 2254498, at *2 (M.D. Fla.
Aug. 3, 2007).

16
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 24 of 44

Because of this restriction, dilution claims apply “only to purely commercial
speech.” Smith v. Wal-Mart Stores, Inc., 537 F. Supp. 2d 1302, 1339 (N.D. Ga.
2008). Such speech “does no more than propose a commercial transaction.” Bolger
v. Youngs Drug Products Corp., 463 U.S. 60, 66 (1983). Thus, when a defendant
uses a mark in an expressive work entitled to First Amendment protection, any
dilution claim based on that work or its promotion is barred. See Mattel, 296 F.3d
at 906; Jackson, --- F. Supp. 3d ----, 2020 WL 8028615, at *3 n.3 (dismissing
dilution claim based on content and promotion of Tiger King).

As explained above, any alleged use of Plaintiffs’ Mark associated with the
Series is entitled to First Amendment protection. See supra, at 7-8. Accordingly,
that use was “noncommercial.” See Jackson, --- F. Supp. 3d ----, 2020 WL 8028615,
at *3 n3.

C. Plaintiffs’ Unjust Enrichment Claim Also Fails.

The elements of unjust enrichment under Florida law are: “(1) the plaintiff
conferred a benefit upon the defendant, (2) the defendant voluntarily accepted the
benefit, and (3) the circumstances are such that it would be inequitable for the
defendant to retain the benefit without paying for it.” Brice Building Co. v. Lee,
2010 WL 11640032, at *2 (N.D. Fla. Apr. 13, 2010). However, because the First
Amendment permits the use of “Floribama” in connection with the Series, Plaintiffs

conferred no benefit on Defendants, much less a benefit inequitably retained. See

17
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 25 of 44

Romantics y. Activision Pub., Inc., 574 F. Supp. 2d 758, 771 (E.D. Mich. 2008)
(applying Rogers and granting summary judgment to defendants on unjust

enrichment claim).

Il. PLAINTIFFS CANNOT PROVE THE ELEMENTS OF THEIR
CLAIMS.

Even without the First Amendment, Defendants are still entitled to summary
judgment because no reasonable juror could find in Plaintiffs’ favor on any claim.

A. There Is No Likelihood Of Confusion.

To prove trademark infringement or unfair competition, Plaintiffs must prove,
among other things, that the Series was “likely to cause consumer confusion” with
their Mark. Fla. Int’l Univ. Bd. of Trustees v. Fla. Nat’l Univ., 830 F.3d 1242, 1255
(11th Cir. 2016) [hereinafter, “FIU”]. Typical trademark claims involve allegations
of “forward confusion,” which occurs when consumers believe the junior user’s
products (here, the Series) come from the senior user (here, Plaintiffs). In such a
case, the plaintiff “contends that the defendant adopted a confusingly similar mark
in order to free-ride on the plaintiff's goodwill and reputation.” Phelan Holdings,
Inc. v. Rare Hosp. Mgmt., Inc., 2017 WL 1135266, at *3 (M.D. Fla. Mar. 27, 2017).
By contrast, “reverse confusion” occurs when consumers believe the senior user’s
products come from the junior user. In a reverse confusion case, “the junior user
does not seek to profit from the good will associated with the senior user’s mark.”

Wreal, LLC v. Amazon.com, Inc., 2019 WL 3890320, at *9 (S.D. Fla. July 26, 2019).

18
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 26 of 44

Rather, the junior user “saturates the market” with its trademark, overwhelming a
senior user. Id.

Plaintiffs’ claims are unambiguously premised on a forward confusion theory.
The Complaint alleges that Plaintiffs’ mark is “famous” and “iconic,” Compl. {[ 3;
see also id. J 29-37, 50-52, not only nationwide but throughout the world, id. 4] 49,
51. The Complaint further alleges that the Series title was a “deliberate attempt to
redirect viewers seeking information” about Plaintiffs, “thereby misappropriating
and wrongfully reaping the benefits of the valuable goodwill and reputation of Flora-
Bama.” Id. | 73; see also id. { 89.

Plaintiffs’ designated corporate representative testified repeatedly in the last
fact deposition, at the close of fact discovery, that Plaintiffs believe their Mark is
famous nationwide and worldwide, and that Plaintiffs’ claims are based on
Defendants’ purported free-riding on Plaintiffs’ success. Decl., Ex. 16 at 66:22-23,
82:3-10, 122:6-20, 129:8-11, 132:25-133:3, 137:3-8, 138:3-5, 139:12-140:5. Only
after fact discovery closed did Plaintiffs disclose a survey expert who ostensibly
tested for both forward and reverse confusion in the same “unique” survey. The
Court should limit Plaintiffs to the forward confusion theory actually alleged in their
Complaint and described in their witnesses’ testimony. See Brady v. Grendene USA,

Inc., 2014 WL 5783771, at *5 (S.D. Cal. Nov. 6, 2014) (rejecting reverse confusion

19
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 27 of 44

theory where complaint alleged that defendant intended to trade on plaintiffs’
reputation and goodwill).

To assess whether a likelihood of confusion exists, courts consider seven
factors: (1) the strength of the plaintiff’s mark; (2) the similarity of the parties’
marks; (3) the similarity of the parties’ goods and services; (4) the similarity of the
parties’ trade channels and customers; (5) the similarity of the parties’ advertising
media; (6) the defendant’s intent; and (7) the existence and extent of actual
confusion. FYU, 830 F.3d at 1255. The factors must be applied “holistically,” but
the first and seventh factors are the most important. Yellowfin Yachts, Inc. v. Barker
Boatworks, LLC, 898 F.3d 1279, 1289 (11th Cir. 2018). Plaintiffs must prove that
confusion is ““‘likely,’ not merely ‘possible.’” Custom Mfg. & Eng’g, Inc. v. Midway
Servs., Inc., 508 F.3d 641, 651 (11th Cir. 2007).

All seven factors favor Defendants.

1. Plaintiffs’ Mark Is Weak.

The first factor considers both the “conceptual strength” and the “commercial
strength” of the plaintiff's mark. FYU, 830 F.3d at 1258; see 2 McCarthy on
Trademarks & Unfair Competition § 11:80 (Sth ed. 2021) [hereinafter “McCarthy”’].

The “conceptual strength” of a mark depends on its classification as generic,
descriptive, suggestive, or arbitrary, in ascending order of strength. FYU, 830 F.3d

at 1256-57. Generic terms are not entitled to trademark protection at all, Custom

20
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 28 of 44

Mfz., 508 F.3d at 648 n.8, making descriptive marks the weakest class of protectable
mark. Plaintiffs’ mark is descriptive, because it is a geographic term describing the
Flora-Bama Lounge’s location on the Florida-Alabama border. See HBP, Inc. v. Am.
Marine Holdings, Inc., 290 F. Supp. 2d 1320, 1329-32 (M.D. Fla. 2003) (holding
that strength factor weighed against plaintiff in case involving geographically
descriptive mark); McCarthy § 14:1 (“Geographically descriptive terms are placed
in the same category as terms that are descriptive of some quality or feature of
goods.”).

Plaintiffs’ Mark is also used extensively by third parties in the region. See
FIU, 830 F.3d at 1257 (noting that “the extent of third-party use of a mark is an
essential factor in determining a mark’s strength”). Alabama’s Secretary of State
website lists 30 businesses other than Plaintiffs’ incorporating the term ‘“Flora-
Bama” (or a variation). Decl., Ex. 18. Florida’s Secretary of State website lists 24
more. Decl., Ex. 19.

Further, there is no record evidence demonstrating that Plaintiffs’ Mark has
achieved significant commercial strength. Plaintiffs conducted no survey to measure
consumer awareness of their Mark. Instead, both Plaintiffs’ and Defendants’ experts
testified that Plaintiffs’ Mark is highly unlikely to be known by more than 1-2% of
the national population. Decl., Ex. 20 at 276:19-277:1; Ex. 21 at 47:14-24. Lastly,

Plaintiffs’ annual marketing budget of nearly $300,000 is far below the Eleventh

21
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 29 of 44

Circuit’s standard to demonstrate commercial strength. FIU, 830 F.3d at 1259
(holding annual marketing budget of $15 million insufficient).

2. The Marks Are Dissimilar.

To assess the “similarity of marks,” courts “consider the overall impression
created by the marks, and do not simply compare isolated features.” FIU, 830 F.3d
at 1260. A key consideration is “the manner in which the marks are used” in the
marketplace. Jd.

A side-by-side comparison of Plaintiffs’ Mark and the Series title as they are

used in the marketplace shows that there is little similarity:

 

 

First, the two Marks create entirely different overall impressions. Plaintiffs’
Mark is presented in undulating lettering with a Western-style font, whereas the
Series title appears in sans-serif font inside a tilted rectangle, with the MTV logo at
the top and “Shore” below. ViacomCBS’ design is modeled on the logo for Jersey

Shore, indicating that the Series is part of the same franchise:

22
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 30 of 44

 

Second, two of the three words in the Series titlke—“MTV” and “Shore”—do
not appear in Plaintiffs’ Mark. The inclusion of a “well-known trademark” (like
MTV) appearing “along with an allegedly infringing mark is a strong indication that
there is no likelihood of confusion.” Sorensen v. WD-40 Co., 792 F.3d 712, 727 (7th
Cir. 2015); see also Water Pik, Inc. v. Med-Systems, Inc., 726 F.3d 1136, 1157 (10th
Cir. 2013); Custom Mfg., 508 F.3d at 652 n.10; Wreal, 2019 WL 3890320, at *14.
Similarly, “Shore” links the Series to the “Shore” franchise.

Third, the only similarity between Plaintiffs’ Mark and the Series title is the

”°

term “Floribama.” When the only common element of the marks is a descriptive
term, the marks are considered dissimilar, because consumers are less likely to
perceive the common element as identifying the source of goods or services. See,
e.g., Luigino’s, Inc. v. Stouffer Corp., 170 F.3d 827, 830 (8th Cir. 1999) (affirming
summary judgment to defendant where common element was descriptive); Pilot

Corp. of Am. v. Fisher-Price, Inc., 501 F. Supp. 2d 292, 304-05 (D. Conn. 2007)

(similar); McCarthy § 23:48 (“If the common element in the conflicting marks is

23
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 31 of 44

suggestive or descriptive of the goods or services, this lessens the likelihood of
confusion.”).

3. The Marks Are Used In Connection With Dissimilar Services.

“The third factor asks whether the parties’ services are the kind that the public
attributes to a single source.” FYU, 830 F.3d at 1261. Here, the answer is no.
Plaintiffs operate restaurants, a bar, a marina, and a liquor store, sometimes
organizing sporting events on the beach and hosting live music at the bar; Defendants
collectively produce and distribute a reality television series. These services are
nothing alike, and there is no evidence that consumers are likely to perceive them as
coming from the same source.

Plaintiffs claim that all parties are in the “entertainment” business, but such
categorical labels carry no weight. See Therma-Scan, Inc. v. Thermoscan, Inc., 295
F.3d 623, 633 (6th Cir. 2002) (goods not similar even though both existed in “broad
industry of medical applications of thermology and infrared identification of heat”);
Checkpoint Sys., Inc. v. Check Point Software Techs., Inc., 269 F.3d 270, 288 (3d
Cir. 2001); WW.W. Pharm. Co. v. Gillette Co., 984 F.2d 567, 573-74 (2d Cir. 1993)

(products not similar even though they “may both be generally defined as personal

24
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 32 of 44

care products”). It is undisputed that Plaintiffs’ “entertainment” services have never
included a television series,!!

4. The Parties’ Trade Channels And Customers Are Dissimilar.

“The fourth factor takes into consideration where, how, and to whom the
parties’ products are sold.” FIU, 830 F.3d at 1261. Here, there is no overlap in the
parties’ trade channels. Plaintiffs provide their services in physical establishments
all in close proximity to the Florida-Alabama border, whereas the Series is available
on cable television and through various streaming and download-to-own platforms.

The parties’ customer bases also differ. Plaintiffs’ is local and the Series’ is
national. Compare Decl, Ex. 22 (Plaintiffs’ Facebook data showing a predominantly
local following) with Decl., Ex. 23 at VIA00017395 (ViacomCBS’ Nielsen. data
showing predominantly national audience). Further, 54% of Plaintiffs’ Facebook
followers are over 45, Decl., Ex. 22; Ex. 24 at 113:18-115:2, whereas (in 2020) only
7.7% of the Series’ Facebook audience was, Decl., Ex. 7 at 285:16-286:20; Ex. 25
at 2. Plaintiffs’ survey confirmed that very few people who are familiar with the
Flora-Bama Establishments have watched the Series (only 13%), and even fewer

have watched more than once or twice (only 6%). Decl., Ex. 26 at 44.

 

"| The only serious discussions Plaintiffs ever had about creating a television show
involved CMT (another network owned by ViacomCBS), and ended a year before
the Series began to air. Decl., Ex. 6 at 267:7-24. There is no evidence that Plaintiffs
made any attempt to create a television series since that time.

25
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 33 of 44

5. The Parties Use Different Advertising Media.

This factor considers the parties’ advertising media and “the audiences they
reach.” FIU, 830 F.3d at 1262. There is no overlap. Plaintiffs do not spend any of
their marketing budget on national outlets. Decl., Ex. 24 at 160:16-161:8. Instead,
they advertise primarily in local print publications for seasonal tourists, on local
radio stations, and, since 2018, on one local television channel. Decl., Ex. 27 at 5-
7; Ex. 28 at 1, 7, 29-30; Ex. 29 at 124:12-20. There is no evidence that ViacomCBS
ever advertised the Series in any publication or on any channel used by Plaintiffs.
Decl., Ex. 30 at 6-8.

While both Plaintiffs and ViacomCBS use Google Ads and social media
advertising, the “mere common use of the internet and social media” is not probative
of confusion. Hard Rock Cafe Int’! USA, Inc. v. RockStar Hotels, Inc., 2018 WL
7825183, at *14 (S.D. Fla. June 13, 2018). Instead, Plaintiffs must show that the
parties’ advertisements on those platforms likely reached similar audiences. See
FIU, 830 F.3d at 1263. Here, Plaintiffs and ViacomCBS purchase entirely different
“keywords” on Google Ads and therefore reach entirely different audiences.
Plaintiffs’ keywords target locals searching for bars and restaurants: many contain
the word “bar” or “restaurant,” and many contain the words “near me” or the names
of towns near the Flora-Bama Establishments. Decl., Ex. 24 at 189:3-191:11; Ex.

31 at 1-3 (Column B). By contrast, ViacomCBS’ keywords are targeted at reality

26
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 34 of 44

television fans: they include the Series title and cast member names, among others.
Decl., Ex. 32 at 2.

6. There Is No Evidence Of Bad Faith.

The sixth factor asks whether Defendants copied Plaintiffs’ Mark “with intent
to confuse consumers.” Yellowfin Yachts, 898 F.3d at 1293. No reasonable jury
could so find here. The record contains uniform, unrebutted testimony that
ViacomCBS executives chose a Series title that would tie into the “Shore” franchise
and represent the subculture presented. See supra, at 10-11. Nothing in the content
of, or marketing materials for, the Series references Plaintiffs or suggests the Series
is affiliated with them. See supra, at 12.

Further, Plaintiffs have identified no credible motive for Defendants to trade
on their goodwill. ViacomCBS’ strategy in promoting the Series was to leverage
two existing brands—“MTV” and the “Shore” franchise. ViacomCBS had no reason
to seek to leverage any goodwill associated with Plaintiffs. See Tana v. Dantanna’s,
611 F.3d 767, 779 (11th Cir. 2010) (no improper motive shown where plaintiffs
mark had no secondary meaning in defendant’s market and where parties did not
compete).

7. There Is No Evidence Of Actual Confusion.

“If consumers have been exposed to two allegedly similar trademarks in the

marketplace for an adequate period of time and no actual confusion is detected either

27
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 35 of 44

by survey or in actual reported instances of confusion, that can be [a] powerful
indication that the junior trademark does not cause a meaningful likelihood of
confusion.” Hard Candy, LLC v. Anastasia Beverly Hills, Inc., 921 F.3d 1343, 1362
(11th Cir. 2019). That is the case here: despite the Flora-Bama Establishments and
the Series having coexisted for over three years, there is no evidence of actual
confusion.

First, the survey conducted by Defendants’ expert, Dr. Itamar Simonson,
showed 0% confusion, conclusively demonstrating the lack of actual confusion.
Decl., Ex. 33 9 15. That survey used standard survey procedures, including the
widely utilized “Eveready” format, which has been accepted in dozens of court
decisions. See McCarthy § 32:174.

By contrast, Plaintiffs’ expert, David Franklyn, conducted a confusion survey |
that violates basic principles of survey design. As explained in the accompanying
motion to exclude Franklyn’s testimony, his survey is inadmissible. Even if not
excluded, it is entitled to only minimal weight. Franklyn used an unprecedented
survey format that purported to test for both forward and reverse confusion
simultaneously, but in fact did not accurately test for either. Instead, the format
artificially maximized confusion by making the metric of confusion the number of
answers that mentioned Plaintiffs, while at the same time excluding respondents who

were not aware of Plaintiffs (a methodology courts have recognized as “biased,” see

28
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 36 of 44

Hodgdon Powder Co. y. Alliant Techsystems, Inc., 512 F. Supp. 2d 1178, 1182 (D.

Kan. 2007)), and “priming” the remaining respondents to mention Plaintiffs by

asking them about the Flora-Bama Lounge in an initial screening question.

Franklyn’s survey also lacked other fundamental indicia of reliability: The stimulus

for the control group was entirely unlike the stimulus used in the test group, and the

coding of responses was subjective.

Moreover, there is no other evidence of actual confusion sufficient to create a

triable issue of fact. Courts have rejected every type of purported evidence of actual

confusion that Plaintiffs have produced:

 

Plaintiffs’ Purported Evidence

Prior Judicial Findings

 

Plaintiffs’ employees claim they were
asked about the relationship between
Plaintiffs and the Series. Decl., Ex. 34
at 10-13.

Because no employee has submitted
testimony about this, these anecdotes
constitute inadmissible hearsay. See
Decorative Ctr. of Hous., L.P. v. Direct
Response Publ’ns, Inc., 264 F. Supp. 2d
535, 554-55 (S.D. Tex. 2003).

 

Plaintiffs received email
messages from friends and
acquaintances. E.g., Decl., Exs. 35, 36.

 

and text.

 

The Eleventh Circuit has disregarded
evidence of inquiries by friends of a
plaintiff. See Freedom Sav. & Loan
Ass’nv. Way, 757 F.2d 1176, 1185 (11th
Cir. 1985); see also Implant
Innovations, Inc. v. Debbie LLC, 2007
WL 9701902, at *10 (S.D. Fla. May 2,
2007) (noting that inquiries about the
relationship between a mark owner and
a defendant “are arguably premised
upon a lack of confusion”), adopted,

 

29
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 37 of 44

 

2007 WL 9701982 (S.D. Fla. June 21,
2007).

 

Social media posts misspelled the Series
as “florabama” or “florabama shore.”
E.g., Decl., Exs. 37, 38.

“Misspellings are not evidence of actual
confusion.” Wreal LLC v. Amazon.com,
Inc., 2015 WL 12550932, at *14 (S.D.
Fla. Feb. 3, 2015), adopted, 2015 WL
12550912 (S.D. Fla. Aug. 31, 2015),
aff'd, 840 F.3d 1244 (11th Cir, 2016).

 

Social media posts mentioned Plaintiffs
and the Series together. E.g., Decl.,
Exs. 39, 40.

Without testimony from the posters, it is
impossible to tell whether they were
“actually confused, merely speculating,
or attempting to be humorous.”
Armstrong Cork Co. v. World Carpets,
Inc., 597 F.2d 496, 505-06 (Sth Cir.
1979); see also Wreal, 2015 WL
12550932, at *14 (rejecting tweet as
evidence of actual confusion where
author did not testify).

 

Plaintiffs received misdirected emails
(and one misdirected letter) intended for
Defendants. E.g., Decl., Exs. 41, 42, 43.

 

 

Misdirected communications are not
evidence of actual confusion. See Uber
Promotions, Inc. v. Uber Techs., Inc.,
162 F. Supp. 3d 1253, 1271-72 (N.D.
Fla, 2016).

 

Importantly, the social media and misdirected email evidence came from

people who may not even be part of either party’s customer base. “[C]onfusion of

individuals casually acquainted with a business is worthy of little weight.” AYU, 830

F.3d at 1264. There is no evidence that the authors of these materials have anything

more than a casual acquaintance with either Plaintiffs or the Series.

*

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30
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 38 of 44

Based on a holistic consideration of the relevant factors, no reasonable juror
could find a likelihood of confusion.

B. Plaintiffs’ Mark Is Not Famous In Florida.

Defendants are also entitled to summary judgment on Plaintiffs’ dilution
claim because Plaintiffs cannot show that their mark is famous within Florida. Only
the “owner of a mark that is famous in this state” has a cause of action for dilution.
Fla. Stat. § 495.151(1). Fame is thus a prerequisite to a dilution claim. MPS Ent.,
LLC y. Abercrombie & Fitch Stores, Inc., 2013 WL 3288039, at *15 (S.D. Fla. June
28, 2013).

The bar for fame is high. Dilution “is an extraordinary remedy reserved for
only a small class of elite marks.” Provide Com., Inc. v. Preferred Com., Inc., 2008
WL 926777, at *4 (S.D. Fla. Apr. 4, 2008). Accordingly, plaintiffs alleging dilution
claims must prove their mark “is practically a household name of the likes of such
giants of branding as Exxon, Kodak, and Coca Cola.” Superior Consulting Servs.,
Inc. v. Shaklee Corp., 2019 WL 913374, at *6 (M.D. Fla. Feb. 25, 2019).

Plaintiffs must make this showing with regard to the state of Florida as a
whole, not merely a portion of the state. See Holding Co. of the Vills., Inc. v. Little
John’s Movers & Storage, Inc., 2017 WL 6319549, at *5 (M.D. Fla. Dec. 11, 2017)
(dismissing dilution claim where company had worked in central Florida but did

“not allege that it has any ties elsewhere in the state”). Further, “extensive third

31
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 39 of 44

party use” of a mark counsels against a finding that it is famous. Michael Caruso &
Co. v. Estefan Enters., Inc., 994 F. Supp. 1454, 1463 (S.D. Fla.), aff'd 166 F.3d 353
(11th Cir. 1998).

Plaintiffs cannot meet this standard. Plaintiffs use their mark in connection
with the Flora-Bama Establishments, all of which are located in close proximity to
one another near the beach by the Florida-Alabama state line. Compl. {{ 38, 40.
Unsurprisingly, Plaintiffs’ advertising efforts are largely focused on that specific
local area. See supra, at 26-27. Further, dozens of third parties have made use of
marks identical or similar to Plaintiffs’ within the state of Florida. See supra, at 21.

None of Plaintiffs’ experts opined that Plaintiffs’ mark is famous in Florida.
Decl., Ex. 20 at 276:8-10, 303:22-305:4; Ex. 44 at 152:18-20; Ex. 45 at 75:2-13; Ex.
46 at 101:7-22. Indeed, one of Plaintiffs’ marketing experts acknowledged that
Plaintiffs’ mark is “not a household brand, household name.” Decl., Ex. 44 at
152:18-20.

Absent evidence of fame, Plaintiffs’ dilution claim is barred. Indeed, courts
have granted defendants summary judgment where there was far more to suggest
fame than there is here. See, e.g., Provide Com., 2008 WL 926777, at *5 (plaintiffs’
“extensive national advertising efforts, its large customer base and its profits” were

“simply not enough to meet the rigorous dilution standard” for fame).

32
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL

 
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 40 of 44

C. Defendants Were Not Unjustly Enriched.

An unjust enrichment claim is not viable when premised on the unauthorized
use of a trademark. Unjust enrichment requires the plaintiffto prove that it conferred
a benefit on the defendant. See supra, at 17. However, no benefit is “conferred”
when a defendant’s use of a mark is unauthorized. See Pellegrino v. Epic Games,
Inc., 451 F. Supp. 3d 373, 382 (E.D. Pa. 2020) (dismissing unjust enrichment claim
at pleading stage). Here, Plaintiffs’ unjust enrichment claim is premised exclusively
on alleged “misuse” or “misappropriate[ion]” of the Mark. Compl. { 136.

In addition, the flaws in Plaintiffs’ other claims are also fatal to Plaintiffs’
unjust enrichment claim. Unjust enrichment requires the plaintiff to prove inequity
in the absence of relief. See supra, at 17. As explained above, Defendants have not
misused or misappropriated Plaintiffs’ Mark. Thus, there can be no inequity
associated with any use of “Floribama.”

Il. 495 PRODUCTIONS IS NOT DIRECTLY LIABLE.

495 Productions is independently entitled to summary judgment. Plaintiffs
pled their claims collectively as to all Defendants, without distinguishing between
the roles played by ViacomCBS and 495 Productions. See, e.g., Compl. ¥{ 89, 97,
104, 111, 116, 126, 133, 137. Plaintiffs thus claim that all Defendants are directly

liable for the infringement alleged.

33
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 41 of 44

Direct trademark liability is limited only to those “who actually mislabel
goods with the mark of another.” Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S.
844, 853 (1982); see also Mini Maid Services Co. v. Maid Brigade Systems, Inc.,
967 F.2d 1516, 1522 (11th Cir. 1992) (direct trademark liability limited to “those
entities that actually perform the acts of infringement”). ViacomCBS—not 495
Productions—had “final say” on the Series title. Decl., Ex. 8 at 39:6-12; see also
Decl., Ex. 7 at 51:10-52:3. The head of 495 Productions testified that she found out
what the Series would be named only when ViacomCBS told her. Decl., Ex. 47 at
46:9-47:1. Thus, to the extent any infringement was possible, only ViacomCBS
“actually mislabel[ed]” the Series. Inwood Labs., 456 U.S. at 853.

CONCLUSION

Defendants are entitled to summary judgment.

34
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 42 of 44

Date:

April 26, 2021

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35
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 43 of 44

CERTIFICATE OF COMPLIANCE PURSUANT TO LOCAL RULE 7.1
Pursuant to N.D. Fla. Local Rule 7.1, I hereby certify that this Memorandum
of Law is in compliance with the Court’s word limit. According to the word
processing program used to prepare this memorandum, the total number of words in
the memorandum, inclusive of headings, footnotes, and quotations, and exclusive of

the case style, signature block, and any certificate of service is 7,990.

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36
UNREDACTED VERSION FILED PROVISIONALLY UNDER SEAL
Case 5:19-cv-00257-RH-MJF Document 87 Filed 04/26/21 Page 44 of 44

CERTIFICATE OF SERVICE
I certify that on April 26, 2021, I filed the foregoing provisionally under seal

and served electronic copies to all counsel of record pursuant to an agreement among

 

the parties.
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37
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